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0 R l G l N A i" IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION 29i3 JAH 23 Pii 141 5b

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UNITED STATES OF AMERICA §
§
v. § Criminal No.
§
ROBERTO FLORES §
A/K/A ROBERTO LOZA FLORES §
8." 1 3,CR- 0,38 m~I*
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The Grand Jury Charges:
Count One

Illegal Reentry After Removal from the United States
[Violation of 8 U.S.C. § 1326(a) and (b)(Z)]

On or about December 16, 2012, in the Dallas Division of the Northern District of
Texas, the defendant, Roberto Flores, a/ka/ Roberto Loza Flores, an alien, Was found
in the United States after having been deported and removed therefrom on or about July
14, 2008, Without having received the express consent of the United States Attorney
General or the Secretary of the Department of Homeland Security to reapply for

admission since the time of the Defendant’s previous deportation and removal.

In violation of 8 U.S.C. § 1326(a) and (b)(Z).

Indictment - l

 

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A TRUE BILL

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sARAH R. sALDANA
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Indictment - 2

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT GF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA
v.

ROBERTO FLORES
a/k/a ROBERTO LOZA FLORES

 

INDICTMENT

8 U.S.C. § 1326(a) and (b)(2)
Illegal Reentry After Removal from the United Sates

 

 

 

l Count
A true bill rendered
DALLAS ii \\J FoREPERsoN

Filed in open court this OY/Lj day of January, A.D., 2013.

 

Clerk

 

 

 

